                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
v.                                          )      Case No. 4:11-CR-00223-04-BCW
                                            )
BILLY RAY HALL,                             )
                                            )
                       Defendant.           )

                                           ORDER

       Before the Court is Magistrate Judge Sarah W. Hays’ Report and Recommendation

regarding Defendant Hall’s competency (Doc. #299). Neither party filed an objection to the

Report and Recommendation. After an independent review of the record, the applicable law, and

the parties’ arguments, the Court adopts Magistrate Judge Hays’ findings of fact and conclusions

of law. Accordingly, it is hereby

       ORDERED Magistrate Judge Hays’ Report and Recommendation regarding Defendant

Hall’s competency (Doc. #299) shall be attached to and made part of this Order, and Defendant

Hall is able to understand the nature and consequences of the proceedings against him and to

assist properly in his defense.

       IT IS SO ORDERED.




DATED: June 5, 2013                                /s/ Brian C. Wimes
                                                   JUDGE BRIAN C. WIMES
                                                   UNITED STATES DISTRICT COURT




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